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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CARLTON SILAS,                        )
                                      )
            Plaintiff,                )                     Case No. 16 cv 8349
                                      )
            v.                        )                     JUDGE SARA L. ELLIS
                                      )
CHICAGO POLICE OFFICERS GRAYLIN       )                     MAGISTRATE SCHENKIER
WATSON, STAR #8250; ANDREW            )
NEBERIEZA, STAR #11129; AISHA KNIGHT, )
STAR #7709; DARRYL EDWARDS, STAR      )
#19970; OMAR GOMEZ FARRINGTO, STAR )
#5425; NICHOLAUS LESCH, STAR #13061; )
MATTHEW BOUCH, STAR #10723; GLENN )
EVANS, STAR #443; and THE CITY OF     )
CHICAGO, a Municipal Corporation,     )
                                      )                     JURY DEMAND
            Defendants.               )

                     STIPULATION TO DISMISS WITH PREJUDICE

It is hereby stipulated and agreed to by Plaintiff Carlton Silas and Defendant Glenn Evans,

through their respective attorneys, that Plaintiff hereby dismisses Glenn Evans from this action

with prejudice and with each side bearing its own fees and costs.

                                             Respectfully submitted,



/s/ Jeffrey J. Neslund
/s/ Michael D. Robbins                       /s/ Kenneth Battle
Jeffrey J. Neslund                           Kenneth Battle
Michael D. Robbins                           Attorney for Defendant Evans
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                               CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that he served a copy of the foregoing

Stipulation to Dismiss, upon all attorneys of record, via EM/ECF filing system on January 19,

2018.

                                           Respectfully submitted,



                                           /s/ Jeffrey J. Neslund
                                           Jeffrey J. Neslund




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